 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/2 /WM@%°L%HSM

 

  
     

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NARISSA DAWN BRADFORD, PRO SE LITIGANT

PLAINTIFF SECT. G MAG. 14

 

 

 

IINTTED STATES DISTRICT COUR

 
 

EASTERN DISTRICT OF LOUISIAN

THE LAW FIRM OF GAUTH[ER, HOUGHTALING & WILL]AMS, L.L.P.,
JAl\/lES M. WlLLIAMS, ESQ.

DEFENDANTS

NOW COMES Plaintiff Narissa Dawn Bradford (“Bradf`ord”), a Pro Se Litigant, and for her
C.omplaint against the Defendants, Gauthier, Houghtaling & Williams, LLP and James M.

`r`Ei'-J£_,ll-_HE[J .~-"'__'-+< ': i._ 1.'--:ll .
Williams (collectively "GHW"`), hereby states as follows:

.E'J"IE ’) ’.-'

JURISDICTIQN AND vENUE ‘- ~ "
l. 'I`his is a civil action seeking damages against GHW for: ;\- |..-._ .»:_|_ _-,; f -
(a.) Fraud in the Civil Action No. 2113-CV-240? (“No. 13-2407") at the I-Jrllited States
Distri ct Court Eastem District of Louisiana (“USDC)‘EDLA”)
(b.) Peljm'y in the Civil Action No. 13-2407 at the USDC/EDLA (c.) Defamation in the
Civil Action No. 13-240? at the USDCfEDLA
(d.) Concealing Evidence in the Civil Aetion No. 13-2407 at the USDC!EDLA

(e.) Violation and Sabotage of the December 4, 2013 Pre-Tria] Notice, the January 22,

2014 Order and the Discovery Phase `m the Civil Action No. 13-2407 at the USDC/EDLA_ _

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 2 of 47

2- 'l`he jurisdiction of this court is invoked pursuant to 28 U.S.C. § 1332 as the parties in this
matter are citizens of different states and the matter in controversy exceeds the sum of seventy
five thousand dollars ($75,000.00). exclusive of interest and costs
3. This Court has personal jurisdiction over GHW, as sufficient minimum contacts with the state
of Louisiana exist.
4. This Court is the appropriate venue and Bradford herein invokes the federal question
jurisdiction of this Honorable Court pursuant to 28 U.S.C. § 1332 to obtain a judgment including
the costs of suit, reasonable attorneys" fees, and damages suffered and sustained by Bradford
caused by GHW.
PART[ES

5. Plaintiff is a citizen of the United States of Arnerica and resides in the County of
Oktibbeha, State of Mississippi (P.O. Box 423_, Starkville, MS 39'?60).
6. Defendant is a law firm in the name of Gauthier, Houghtaling & Williams, L.L.P. and
Attorney Jamcs M. Williarns and at the time of this complaint, resides in 3500 N. Hu]len,
Metairie, Louisiana 70002, Parish of Jefferson, United States of Arneriea.

GENERAL ALLEGATIONS
'!. On April 20, 2016 (07:22_), Attorney Marco Chiari (“Chiari"), forwarded to Bradford, a
Certii'ied Email (Per conto di: avvmarcochiari@nuntonec.it" posta-certiflcata@pec-aruba.it)
entitled: POSTA CERTIFICATA: l: pec avv. Marco Chiari` to attach Bradford Civi] Cornplaint
20.04.2016
8. Chiari also forwarded this documentary evidence, by Certified Email (PEC) to: Valeria
Barizz.a (“Barizza”`), Attorney Carlotta Barbetti (“Barbetti”) and Alessandro Dell’Orto

(‘~neii'orto”).

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 3 of 47

9. ln Chiari’s April 20, 2016 Certit'led Email, to Bradford1 he declares: “The undersigned,
Attorney Marco Chiari_. from the Court of Bergamo, Italy, with the law firm in via. S. Alessandro
166, as the Domiciliary of Gauthier, Houghtaling and Williams L-L.P. and Jarnes M. Williarns
("GHW"], in Italy, pursuant to the Procura alle Liti (Power of Attorney/POA) with a Civil
Mandate, representing Narissa Dawn Bradford (“Bradford"), valid from May 4, 2012 until
November 2, 2012, and with a Crin'iinal Mandate, representing Bradford, valid from May 4,
2012 until April 22, 2013, declares:

“(a.) To have filed in Italy, on behalf of Bradford, at the Court of Brescia, ltaly,
Bradt`ord‘s July 28/30, 2012 Reply to Franco Colosio's (“Colosio") July 9_. 2012 Statement of
Defense with attachments (“Bradford’s 2012 Reply to Colosio with attachments"), in the
Bradford vs. Colosio Civil Case No. RG 11672/03. Bradford's 2012 Reply to Colosio with
attachments Was filed by Bradford's attoneys, Jarnes M. Williams, partner of GHW and the
undersigned, on July 28!30, 2012...

(b.) To have forwarded to GHW, on August 28, 2013, by Certitied Ernail, in English, the
Italian document Istanza di Riapertura Istruttoria Civile Elenco Documenti (_“Italian Document
List")...

10. Prot`essorfAttomey Luigi Fumagalli‘s (“Fumagalli’) March 30, 2014 Legal Report
("Legal Report") and his June 27, 2014 Sworn Aft`idavit ("Sworn Aft`idavit"), regarding
Bradford's civil and criminal legal proceedings in ltaly, DO NOT correspond to the legal
documents tiled personally and DE FACTO by the undersigned as GHW domiciliary.

11. On February 23, 2016 I requested the law firm of Deutsch and I<.'.errigan, attorneys
representing GHW, and Fumagalli, to correct the Legal Report and the Swom Ai’f`idavit. The

reenactment of Furnagalli's Legal Report and his Sworn Affidavit, regarding Bradford's civil and

3

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 4 of 47

criminal legal proceedings in Italy, reports my alleged declarations, never approved by me. I.
Attorney Marco Chiari, confinn, in full, the reenactment of the judicial documents filed in Italy,
by me, as declared by Narissa Dawn Bradford in this April 20, 2016 Cornplaint. Avv. Marco
Chiari”
12. Bradt`ord's 5 causes of action, (a.) Fraud, (b) Peijury, (c.) Def`amation, (d._) Concealing
Evidence and (e.) Violation and Sabotage of the December 4, 2013 Pre-Trial Notice, the January
22, 2014 Order and the Discovery Phase, contained in this April 20, 2016 Complaint could not
be included in Bradford's Decernber 13, 2013 Second Amended Cornplaint, filed in the Civil
Action No. 13~240'? at the USDCFEDLA_, because:

(a.) The 5 causes of action contained in this April 20, 2016 Complaint are based on
sworn affidavits and evidences that Bradt`ord obtained from April 28, 2015;

(b.) The 5 causes of action contained in this April 20, 2016 Complaint refer to written
declarations, by GHW, on June 2, 2015 in the Civil Action No.13-2407 at the USDCFEDLA:

(c.) The 5 causes of action contained in this Complaint does not refer to GHW 2012 legal
malpractice',

(d.) The 5 causes of action contained in this Cornplaint refer to GH'W sabatoge in the
Civil Action No. 13-2407 at the USDC!'EDLA;

(e.) The 5 causes of action contained in this Cornplaint does not refer to the damages
caused by Gl-IW, in 2012, in the Bradt`ord vs. Colosio Italian Civil Case in Italy;

(f._`) The 5 causes of action contained in this Complaint refer to the damages caused by
GHW in the Civil Action No. 13-240'?` at the USDCFEDLA.

13. On December 3, 2013, in the Civil Actiori No- 13-2407, the USDC)'EDI_,A declared:

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 5 of 47

(a.) “. . .Fraud is a misrepresentation or a suppression of the truth made with the intention
either to obtain an unjust advantage for one party or to cause a loss or inconvenience to the other.
Fraud may also result from silence or inaction...The elements of fraud include: “l) a
misstatement or omission; 2) of material fact; 3) made with the intent to defraud; 4) on which the
plaintiffrelied; and 5) which proximately caused the plaintist injury. .

(b.) “...Peijury in a civil action, is defined as the “intentional making of a false written
or oral argument in or t`or use in a judicial proceeding, any proceeding before a board or ofiicial.
. .under a sanction of oath or an equivalent affirmation and must relate to matter material to the
issue or question in controversy-” La. Rev. Stat.§ 14:123..."

14. On December 3, 2013, in the Civil Action No. 13-240?, in reference to Bradford’s
November 1. 2013 Motion for Leave to file a Second Amended Complaint, the USDC/EDLA
declared:

(a.) ". . .Bradt`ord filed an amended complaint on July 29, 2013, which allege largely the
same allegations as the initial complaint, but includes a 76 page attachment of exhibits, as well as
more specific factual allegations in each of the numbered paragraphs--.For example, Bradt`ord
added nearly six pages of references to hate-stamped email documents that she attached to her
motion in disc format, Which were not included in such detail in her tirst two pleadings with the
Court regarding Defendants’ alleged failure to officially provide her with information of the
pending criminal and civil legal proceedings in Italy...Here, Bradt`ord’s initial and first amended
complaint allege breach of contract1 violations of Louisiana’s rules on professional conduct,
amongst allegations of gross negligence and that the GHW Defendants breached the fiduciary

duties they owed to Bradf`ord in providing her legal reputation..."

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 6 of 47

15 . On December 13_, 2013, Bradford filed a Second An'iended Complaint, in the Civil Action
No. 13-2407 at the USDCFEDLA, for violations of the Louisiana Rules of Professional Conduct
arising to breach of contract and fiduciary duties, concealing of documents, non-fulfillment on
behalf of the GHW Defendants, refusal to file an important opposition document and scrambling
of documents

16. ln Bradford’s December 13, 2013 Prayel' for Relief`, in the Civil Action No. 13-240'_7 at
the USDC)’EDLA, she declared: “Wherefore, Plaintiff...requests that after due proceedings are
had, there be judgment in favor of Bradf`ord. . . granting damages in the amount of $30,000,000.00
( 30 million U.S. dollars)...Bradford...will aslo seek punitive damages, attorney’s fees, costs and
all other general and equitable relief, with legal interest...Bradford...intends to quantify other
serious damages and losses occured due to the action and inconclusiveness of the GHW
Det`endants that have been made against her image and her professionalism
worldwide...NARlSSA BRADFORD REQUESTS TRIAL BY IURY..."

17. On July 3, 2014, in the Civil Action No. 13-240':', GHW filed a Motion for Summary
Judgment (“MSJ”) requesting the USDC/EDLA to "summarily dismiss with prejudice the
Claims in their entirety” asserted by Bradf`ord in her April 22, 2013 Original Complaint_. in her
July 24, 2013 First Amended Complaint and in her December 13, 2013 Second Arnended
Complaint.

18. On .luly 3, 2014, in the Civil Action No. 13-240'? at the USDC!'EDLiit1 in GHW
Procedural Background they declared: "On April 22, 2013, Bradt`ord initiated the instant
proceeding by filing a Complaint wherein she alleged that GHW failed to adequately supervise
and direct Chiari in connection with Bradford‘s civil proceedings in ltaly, resulting in the filing

of insufficient documents in July 2012. She further alleged that GHW failed to timely file an

6

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 7 of 47

appeal of the September 2012 Verdict...Bradford filed a Second Amended Complaint on
December 13, 2013. ln the Second Amended C-omplaint, Bradford also added the allegation that
GHW failed to advise Bradf`ord of potential settlement opportunities...Finally, Bradford alleged
that GI-IW's actions somehow caused damage to her public image and caused her to lose the
opportunity to publish her proposed book, "Narissa Says Nope."...Bradford also filed a First
Amended Complaint on July 24, 2013. The Second Amended Complaint superseded the First
Amended Complaint. Bradf`ord's Second Amended Complaint is 32 pages long and consists of
121 paragraphs, plus a Final Conclusion and Prayer for Relief Section..."

19. On September 8, 2014, in the Civil Acti`on No. 13-2407, the USDCfEDLA granted GHW
Motion for Summary Judgment and Bradford’s Claims were dismissed with prejudice

20. In the USDC)'EDLA September 8, 2014 Order, in the Civil Action No. 13~240?, it
declared: "This is a civil action for legal malpractice under Louisiana law...Plaintifi` retained
Det`endants to represent her in an ongoing legal proceeding in Italy. Plaintiff alleges that
Def`endants were negligent in their representation of her, resulting in the loss of her claim and a
judgment against her for litigation costs and compensatory damages for abuse of process.
Plaintiff's allegations of negligence arise out of a civil action brought by Plaintiff` against her
former companion in an ltalian court in July of 2003...this Court has attempted to distill her
claims into five chief complaints and will address each in turn..

A) Chief`Complaint # l: Failure to File Certain Documents

B) Chiet` Complaint # 2: Fai lure to Inf`orm Plaintif`f of Settlement Opporrunity

C) Chief Complaint # 3: F ailure to Appeal

D) Chiet` Complaint # 4: Failure to Corrnnunicate

E) Chief Complaint # 5: Failure to Reinstate Media linage..,"

7

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 8 of 47

21. Bradford's Claims in her Second Amended Cornplaint, in the Civil Action No. 13-2407,
approved by the USDC!EDLA on December 3, 2013 were precisely and exclusively “concealing
of documents, non-fulfillment on behalf of the Defendants, refusal to file an important
opposition document [and]scrambling of documents“.

22. On May 15 2015, Bradford moved the USDC)'EDLA, in the Civil Action No. 13-2407,
for relief under FRCP 60(b)(2)(3) and (6) (“Motion for Relief` from Final Judgment"`) on the
basis of newly discovered evidence, fraud, concealed evidence, misrepresentation and
misconduct by GHW and their attorneys, DK.

23. The USDC/EDLA entered a final judgment that disposed of all parties’ claims on July
16, 2015.

24. On Febrnary 22, 2016 (1?:50), Attorney Marco Cliiari (*"Chiari”), forwarded to Bradf`ord,
a Certified Email (Per conto di: avvmarcochiari@nuntopec.it" Mi-cenificata@nec.arnba.iti
entitled: “POSTA CERTIFICATA: Narissa Bradford v. The Law Firm of Gauthier, Houghtaling,
et al (“Bradf`ord vs- GHW Case”)#' Urgent request for the SUSPENSION and the immediate
RETIFICATION of Prof`essorfAttorney Luigi Fumagalli's March 30, 2014 Legal Opinion and his
June 27, 2014 Sworn Af`iidavit in the United States District Court Eastern District of
Louisiana...""

25. Cliiari also forwarded this documentary evidence, by Certified Ernail (PEC) to: Attorney
Beverly DeLaune (“DeLaune"), Attomey Melissa Lessell, Attomey Williain Wright, Attomey
James. M. Williains (“Williams”), Attorney Earl G. Per'iy, ProfessorfAttorney Luigi Fumagalli
(“Fumagalli”`), Valeria Barizza ("‘Barizza”), Alessandro Dell’Orto (“Dell’Orto”`), Attorney

Carlotta Barbetti (“Barbetti") and ProfessorfAttorney Carlo Rimini.

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 9 of 47

26. From the facts and the evidence contained and cited in Chiari’s February 22, 2016
Certified Ernail, there is evidence that on February 20, 2014, DeLaune, of the law firm Deutsch
Keri'igan L.L.P. (“DK”), attorney representing in the name and on behalf of GHW. declares to
have appointed Chiari to reconth the Bradford vs. Colosio Italian civil case ("Italian Civil
Case”).

2?. Delaune entrusted to Chian` the task of producing and analyzing the documents regarding
the Italian Civil Case for his colleague, Fumagalli.

28. Chiari, in his February 22, 2016 Certitied Email_, denies and contests the reconstruction of
the Italian Civil Case and the role of Williarns as presented by Fumagalli in his March 30, 2014
Legal Opinion (“Legal Opinion”) and in his June 2'?, 2014 Sworn Affidavit (“Sworn Affidavit").

29. Chiari requested that the law firm of Deutsch Kerrigan:

(a.) withdraw Fumagalli’s Legal Opinion and his Sworn Afiidavit from the

USDC)’EDLA.. .and to modify it according to the indications approved by him; or, altematively_.
eliminate all references to him and to the activity of production and analysis of documents
carried out by him, which do not correspond to what Fumagalli declared in his Legal Opinion
and in his Sworn Aflidavit.
30. On March 3, 2016, DeLaune, an attorney from the law f'um of DK., forwarded to Chiari,
an email, declaring: "., .Finally, your arguments regarding the alleged deficiencies and errors in
Professor Fumaga|li's opinion merely constitute a difference of opinion as to the relevance of
certain documents contained in the record and the effect such documents would have had on the
underlyng litigation . ,".

31. Dn March lO, 2016, Chiari, forwarded to DeLaune, a certified email, declaring:

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 10 of 47

(a.) "...On the grounds that Attorney Fumagalli, swearing to tell the truth on his
description of the Bradford vs Colosio Italian Civil Case from the beginning, in 2003, until Judge
Magnoli's September 13, 2012 ruling, whereas Bradford's July 28!30, 2012 Reply to Colosio‘S
July 9, 2012 Statement of Defense filed by Williams and the undersigned on behalf of Bradford,
there is no evidence that Bradford's Reply to Colosio is mentioned or analyzed in Fumagalli's
Legal Report or his Swom Atiidavit.

(b.) Therefore, Fumagalli "has apparently picked pages" from the Bradford vs.
Colosio original civil case file "that he deems beneficial”, without noting to the Court that pages
have been eliminated from his exerpts. lt is more serious when you consider that Bradford's
Reply to Colosio‘s Statement of Det`ense was produced by me, the undersigned, to Furnagalli on
February 27, 2014 and Fumagalli confirmed to me, the undersigned, on February 28, 20]4, that
he was in possession of Bradford's Reply to Colosio Statement of Defense.

(c.) On August 22, 2013 GHW produced, to Bradford, in their production of Bates
Labeled Docurnents, Bradford‘s Reply to Colosio, recognizing the existence and accepting all the
content.

(d.) On July 3, 2014, a year later, GHW, with their attorneys (Deutsch Kerrigan), filed
the Opinion of an expert who has sworn that Bradford‘s Reply to Colosio does not exist in the
Bradford vs. Colosio Italian Civil Case file, nor exists Williams legal activity in the Italian Civil
Case relative to Bradford`s Relpy to Colosio.

(e.) At this point, it should be noted that evidence is false or true, or exists or does not
exist Given that the undersigned wrote and filed Bradford's Reply to Colosio_. as GHW co-
counsel and on behalf of Bradford, in the Italian Civil Case, and Williams has acknowledged and

produced Bradford's Reply on August 22, 2013 (in Gl-IW production of Bates Labeled

10

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 11 of 47

Documents in the Civil Action No. 13-2407 at the USDC/EDLA), either the undersigned and
Williams have invented and falsified a legal document that does not exist or Fumagalli, GHW
and DK "have apparently picked pages that they deem beneficial, without noting to the Court
that pages have been eliminated" from the original Italian Cicil Case file...

(f.) Given that I filed as domiciliary of Williains Bradford‘s Reply to Colosio not only
at the Court of Brescia, Italy, in the Italian Civil Case, but also at the Procura di Brescia to the
attention of the Crirninal Prosecutor Dr Paul Savio, l contest and totally dissociate myself from
the reconstruction of the Italian Civil Case as reconstructed by Fumagalli in his Legal Opinion
and in the June 2?_. 2014 Sworn Afhdavit filed by Gl~IW on July 3, 2014 in their MSJ at the
USDC/EDLA. ..

(g.`) l believe that it is very serious that DK and GHW continue to use my name and
my professionalism, in addition to my presumed declarations never approved. certified nor
authorized by me, iii false interpretations of the legal documents filed by me and Willi'arns in
civil and criminal proceedings at the Court in Brescia, Italy. .

32. On April 13, 2012, Bradford and GHW signed the State of Louisiana/Parish of Jefferson
Contract (“Louisiana Contract”).

33. On May 4, 2012, Williams, partner of GHW, Chiari and Bradford executed an Italian
Procura Alle LitifPower of Attomey ("POA") authorizing Williams (in order to formally appear
as counsel for Bradford and to legally represent her in reference to all of her criminal and civil
proceedings in Italy) and GI-IW to act on Bradford's behalf in Italy.

34. GHW re-engaged Chiari, one of Bradford's former attorneys, to serve as their Italian co-
counsel. Chiari who was earlier dismissed by Bradford, was re-engaged pursuant to Clause # 3 of

the Louisiana Contract which states that “...ln addition to filmishing legal services, Attorney

11

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 12 of 47

agrees to advance all expenses necessary to prosecute my claim...." and Clause # 4 “. . .Attomey,
in his sole discretion, has the right to retain the services of any consultants....and others whose
services Attomey deems necessary to prosecute my claim_. and that the cost thereof shall be
reimbursed as costs to Attomey by me out of any funds received on my claim. . .“.

35. GHW provided to Bradford legal services pertaining to her Claims against Franco
Colosio (_“Colosio”).

36. On November 2. 2012, Chian' revoked the POA executed between himselt`, Williarns and
Bradford.

37. On November 2, 2012, Bradford t`lled a Complaint to the Bar Association in Italy and to
the Court of Appeals in Brescia, ltaly with an explanation of Gl-IW and Chiari’s refusal to file
Bradford§s appeal in the Italian Civil Case.

38. On Novernber 3, 2012, Chiari filed an Opposition to Bradford’s Complaint to the Bar
Association in Italy and to the Court of Appeals in Brescia, ]taly

39. Frorn November 2, 2012, until February 17, 2014 (when Bradford revoked the Louisiana
Contract) GHW are Bradford’s only attorneys for the Italian Civil Case.

40. GHW are Bradford’s only attorneys for Bradford’s Italian criminal proceedings from
Apri122, 2013 when Chiari revoked the criminal mandate in ltaly until February 17, 2014 (when
Bradford revoked the Louisiana Contract).

41. From April 13, 2012 to February 17, 2014, GHW was the only law firm providing to
Bradford legal services pertaining to all of her Clairns, against Colosio.

42. The Louisiana Contract is valid from April 13, 2012 until February 17, 2014.

12

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 13 of 47

43. From April 13, 2012 until February 17, 2014 there exists only the Louisiana Contract
valid in the State of Louisiana and regulated by the 1 l clauses written and signed by GHW and
Bradford.
44. GHW had an obligation to comply with the l l Clauses or had an obligation to revoke the
Louisiana Contract if they were not willing to continue as Bradford’s attorneys.
45. On April 28, 2015, Valel'ia Barizza (“Batizza"`), a journalist and Bradford"s business
partner and communication manager who provides strategic analysis and optimization of the
documentation relating to Bradford’s legal proceedings in Italy, produced a sworn attidavit, to
Bradford1 authenticated by the American Consulate in Milan, Italy.
46. Barizza contacted Chiari, former co-counsel of GHW and fenner attorney of Bradford,
and discovered that he was in possession of documentaty evidence pertaining to the Bradford vs.
GHW Case (Civil Action No. 13-2407 at the USDC!EDLA_) and the Bradford vs- Colosio Italian
litigation
47. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the American Consulate in Milan, Italy.
48. This information was not available to Bradford earlier as she could not directly contact
Chiari and obtain this information in view of the fact that:

(a.) Bradford had not entered into any agreement with Chiari; Chiari was re-engaged by
GHW_:

(b.) Bradford had earlier dismissed Chiari as her legal counsel;

(e.) in view of Bradford’s Ag'reement with Williams, as there Was no communication
from Williams, Bradford presumed that he and GHW were taking care of Bradford’s interest in

the case.

13

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 14 of 47

49. On April 28, 2015, Barizza forwarded to Bradford, by U.S. Mail and email, from Italy,
the sworn affidavit consequent to the investigative journalism report that she conducted, from
December 22, 2014, regarding evidence GHW had in their possession and had concealed from
the Civil Action No- 13-2407 at the USDCIEDLA.

50- Barizza’s April 28, 2015 sworn afi`ldavit, authenticated by the American Consulate in
Milan, Italy, contains also evidences distinguished precisely in a total of 9 evidences.

51. Attorney Chiari's April 28, 2015 sworn aftidavit, authenticated by the Arnerican Consulate
in Milan, ltaly, contains also evidences distinguished precisely in a total of 10 evidences,.

M
The Italian document Istanza di Riagertura Istruttoria Civile Elenco Documenti (“Italian
Document List’fl

52. Chief Complaint #]: GHW Violation of the January 22, 2014 Order by failing to produce
to Bradford the Italian Document List (in the Civil Action No. 13-240’1r at the USDC!EDLA):
53. Chief` Complaint #2: GHW Violation and Sabatoge of the December 4, 2013 Pre-Trial
Notice and the Discovery Phase by failing to produce to Bradford the Italian Document List (in
the Civil Action No. 13-2407 at the USDC/EDLA_):

54. Chief Complaint # 32 GHW Def`amatory allegations against Bradford regarding the
Italian Document List (in the Civil Action No. 13-240',“r at the USDC!EDLA}:

55- Chief Complaint # 4: GHW Perjury regarding the Italian Document List (in the Civil
Action No. 13-2407 at the USDCFEDLA):

56. On July 03, 2014 the original version of the Italian Document I_.ist was produced in the

Civil Action No. 13-2407 at the USDC!EDLA by GHW attached to their MSJ.

14

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 15 of 47

5'?'- Bradford received the original version of the Italian Document List, by U.S. mail, for the

first time, on July 07, 2014.

53, On May 10. 2012, the original version of the Italian Document List was filed on behalf of
Bradford, by Williarns and Chiari (they both signed this document), in the Italian Civil Case
attached to the Request of Reopening Civil Investigation Due to the Acquisition of New
Documents and New lnvestigation Requests (“Request to Reopen").

59. On August 28, `20]3, Chiari produced, by email. to Williams and GHW, the original copy
of the Italian Document List attached to the May 10, 2012 Request to Reopen (in the Italian Civil
Case).

60. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits.
authenticated by the American Consulate in Mila.n, Italy, demonstrating that Chiari produced, by
email, to Williams, partner of GHW, on August 28, 2013, the original copy of the Italian

Document List.

61. On February 27, 2014, Chiari forwarded to Fumagalli, the August 23, 2013 email in
which Chiari forwarded to Williams, partner of GHW1 the original copy of the Italian Document
List attached to the May 10, 2012 Request to Reopen (in the Italian Civil Case).

62. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the Arnerican Consulate in Milan, Italy_. demonstrating that Chiari forwarded to
Furnagalli, the August 28, 2013 email in which Chiari forwarded to Will`iams, partner of GHW,
the original copy of the Italian Document List.

63. On April 30, 2015, Attorney Carlotta Barbetti Nervini (“Barbetti") produced a sworn
affidavit, authenticated by the Arnerican Consulate in Florence, ltaly, to Bradford, where she

explains how Fumagalli’s March 30_. 2014, 12 page Legal Report and his June 2?, 2014, 4 page

15

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 16 of 47

Sworn Aftidavit, where he declared under penalty of perjury in the Civil Action No. 13-2407 at
the USDC!'EDLA, are cleary biased and full of ornmissions upon crucial issues and the severity
of Fumagalli’s false intepretation of evidence in the Bradford vs. Colosio Italian Civil Case.

64. In Barbetti’s Apl'il 30, 2015 Sworn Affidavit, authenticated by the American Consulate in
Florence, Italy, she declares:

(a.) "._.I was appointed by Bradford to provide a legal opinion regarding the
following: assessment of the omissions of facts, acts and codes of law in the March 30, 3014
Legal Opinion (omissis) and in the June 27, 2014 Affidavit (omissis) of (omissis] Fumagalli
(omissis), the Legal Expert of GHW. ..

(b.) ...Whether or not a legal expert could have given an opinion on the Italian Civil Trial
or whether a legal expert would be able to agree or disagree with Furnagalli’s Legal Opinjon or
his Affidavit without having the Italian EIenco Documenti (“ltalian Document List"`), attached to
Williams & Chiari’s Istanza di Riapertura Istruttoria Civile per Acquisizione dei Nuovi
Documenti e di Nuove Riehieste Istruttorie f Request of Reopening Civil lnvestigation Due to
the Acquisition of New Documents and New Investigation Requests (“Request to Reopen”) filed
on May 10, 2012 at the Court of Brescia, Italy and the documents attached to Bradford’s July
28/30_, 2012 Reply to Colosio’s July 9, 2012 Statement of Defense that is, the witness testimonies
collected by ProfessorfAttorney Carlo Taormina (“Taormina“) in 2007r (“Bradfordt"l`aonnina
2007 Criminal Complaint”) to demonstrate the false testimony of the 12 witnesses of the Civil
Case.

(c.) l shall immediately reply to that final question. The Italian Document List is very
important because it shows which documents were attached to the May 101 2012 Request to

Reopen the evidentiary phase of the Civil Case- The documents attached to the Request to

16

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Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 17 of 47

Reopen (in addition to Sala’s 2007 testimony) would have permitted Magnoli to better
understand the unreliability of the 12 witnesses that testified in the Civil Case, who falsely
testified upon the kind of relationship that Bradford & Colosio ha

65. Barbetti confirms in her April 30, 2015 sworn affidavit that Bradford has had, in her
possession, the Italian Document List only on July i', 2014 (the English version translated by
GHW was produced to Bradford on May 12, 2014) and Bradford’s deadline for the use of a legal
expert was on June 6, 2014. Bradford did not have the opportunity to verify the correspondence
with the original.

66. On July 3, '2013, pursuant to the Federal Rules of` Civil Procedure 26, Bradford requested,
from GHW, the complete set of documents pertaining to her that were sent from Italy to them.
6?. In Specific Request number li and 18, Bradford requested all documents reflecting or
relating to communications between the parties to the Italian litigation, all pleadings, memoranda
or other documents submitted to any court in connection with the Italian litigation proceedings

CHIEF COMPLAINT #1

GHW Violation of the Janugy 22, 2014 Order by failing to produce to Bradford the Italian

 

Document List ( in the Civil Action No. 13-2407r at the USDC)'EDLA):
68. ln GHW June 2, 2015 Opposition to Bradford‘s May 15, 2015 Motion for Relief from
Final Judgment they declared: “-..In essence, Bradford-claims that GHW and DKS concealed
documents (emails and pleadings) from the underlying litigation that Bradford requested during
the discovery process As undersigned counsel has repeatedly explained to Bradford and this
Court, GHW produced all requested documents in their possession, custody and control. Simply
because a pleading was filed in the Colosio litigation during GHW’s involvement does not mean

that such a document was in GHW’s possession at the time Bradford filed her lawsuit.__”-

17

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 18 of 47

69. On January 2, 2014, Bradford filed a Plaintiff"s Motion to Compel for Production of
Documents (“Motion to Compel”) declaring: "Bradford, being deprived of the ability to get a
hold of the required documents, in the dual role as both client of GHW and as a PRO SE litigant
against GHW_. declares the inability to proceed under these conditions to assert her Iights, as an
American citizen and PRO SE litigant in the USDC!EDLA as well as in the pending legal
proceedings in Italy. lf GHW are in possession of the documents, which already should have
been delivered and submitted to Bradford1 the client, in real time, in 2012, with respect to their
production, they are still unduly retaining them to this day and impeding Bradford from having a
proper protection of her constitutional rights both in America and in Italy.”

?0. On January 14, 2014 GHW filed an Opposition describing Bradford’s January 2, 2014
Motion to Compel for as MERITLESS. GI-IW declared: "The GHW Defendants concede that a
discussion with Bradford may have been a useless gesture, as undersigned counsel has repeatedly
stated in two status conferences with Judge Milazzo that the Defendants have - produced
everything in their control and possession regarding the underlying litigation to Bradford. The
GHW Defendants believe oral argument would be beneficial to the Court and all parties
Bradford is still under the DELUS]ON that the GHW Defendants are somehow hiding
documents."

71. On January 22, 2014 (Oral Argument requested by GHW), DeLaune_. attorney
representing GHW. declared, under oath, that GHW had produced everything in their control and
possession

?2. On January 22, 2014, the USDC!EDLA granted Bradford’s request to compel GHW to
supplement each of its responses to her Request for Production of Documents, where she

propounded a specific document request

18

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 19 of 47

?3. On July l?, 2014, Bradford filed a Notifieat:ion of Delay with respect to the missing
Italian Document List, produced by GHW on July 7, 2014, a month after Bradford’s June 61
2014 deadline to obtain a Legal Expert.

74. In this July 17, 2014 Notitication, Bradford declared: "DKS produced the original Italian
document, Elenco Documenti to Bradford on July ')', 2014, attached to GHW MSJ (the English
translated version was produced to Bradford on May 12, 2014 ."

?5. GHW, despite Bradford’s formal request on May 19, 2014 and on May 27_. 2014 to
produce the original Italian version of said document, did not produce it to Bradford until July 7,
2014 (attached to Defendants’ July 3. 2014 MS.T].

76. DeLaune confirmed in the entail sent to Bradford on May 2'?, 2014_, that GHW "have
obtained these documents independently in preparation for the trial of this matter."

77. On July 17, 2014, in Bradford`s Notitication of Delay with respect to the missing Italian

Document List, she declared that: "said document is strategic for the “case within a case” as well
as Bradford’s Darnage Computation, representing the irrefutable evidence (this document is also
relevant for the demonstration of Bradford’s thesis that GHW concealed documents from her)"
78. On July 1'?, 2014, Bradford continued that GHW and their attorneys have misled
Bradford and the Court, having declared1 UNDER OATH, to have produced all documents
regarding the Bradford vs. Colosio litigation in their possession and control.

?9. On April 28, 2015, Bradford obtained Chiari and Barizza`s sworn affidavits1
authenticated by the Arnerican Consulate in Milan, Italy, demonstrating that Chiari produced, by
email, to Williams, partner of GHW, on August 28, 2013, the original copy of the Italian
Document List.

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19

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 20 of 47

GHW Violation and Sabatoge of the December 4. 2013 Pre-Trial Notice and the Discoverv
Phase by failingr to produce to Bradford the Italian Document List ( in the Civil Action No. 13-
2401r at the USDC/EDLA]:

80. ln GHW June 2, 2015 Opposition to Bradford’s May 15, 2015 Motion for Reliei` from
Final Judgment they declared: “...In essence, Bradford claims that GI~{W and DKS concealed
documents (emails and pleadings) from the underlying litigation that Bradford requested during
the discovery process. As undersigned counsel has repeatedly explained to Bradford and this
Court, GHW produced all requested documents in their possession, custody and control Simply
because a pleading was filed in the Colosio litigation during GHW’s involvement does not mean

that such a document was in GHW’s possession at the time Bradford filed her lawsuit...".

81. On May 19, 2014 and on May 2?. 2014 Bradford requested GHW to produce the
ORIGINAL copy of the Italian Document List.

82. GHW refused to cooperate with Bradford in the Pre Trial phase for the exchange of
copies of documents that would be offered in evidence at the TRlAL BY IURY SCHEDULED
FOR SEPTEMBER 22, 2014.

83. The December 4, 2013 Pre-Trial Order was valid until July 17, 2014.

84. On July 1?, 2014, DeLaune, attorney representing GHW, without submitting in writing a
valid and justified Motion, requested and extraordinarin obtained a modication to the Court"s
December 4, 2013 Pre-Trial Order.

85. GHW produced the original copy of the Italian Document List to Bradford on July 7,
2014, by U.S. Mail, (in their July 3, 2014 MSJ requesting the USDC!EDLA to summarily
dismiss Bradford’s Claims in their entirety, with prejudice), a month after Bradford’s June 6,

2014 deadline to obtain a Legal Expert.

20

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 21 of 47

86. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the Ainerican Consulate in Milan, Italy, demonstrating that Chiari produced, by
email, to Williams, partner of GHW, on August 28, 2013, the original copy of the Italian

Document List.

CHIEF COMPLA]NT #3

 

GHW Det`amato;y allegations against Bradford regarding the ItLan Document List ( in the Civil
Action No. 13-2407 at the USDCJ'EDLA}:

87. ln GHW June 2, 2015 Opposition to Bradford’s Relief from Final Judgment they
intentionally declared: “...In essence, Bradford claims that GI~IW and DKS concealed documents
(emails and pleadings) from the underlying litigation that Bradford requested during the
discovery process. As undersigned counsel has repeatedly explained to Bradford and this Court,
GHW produced all requested documents in their possession. custody and control. Simply
because a pleading was filed in the Colosio litigation during GHW'S involvement does not mean
that such a document was in GHW’s possession at the time Bradford filed her lawsuit...“.

BS. On June 2, 2015 in GHW's Opposition to Bradford‘s Motion for Relief, they intentionally
declared that: "...ln sum, Bradford has submitted absolutely no evidence to support her
defamatory allegations, much less with clear and convincing evidence...Bradford bases her
Motion on three sections of Rule 60(b): 2 (newly discovered evidence). 3 (fraud) and 6 (any
other reason that justifies reliet). Bradford claims her Motion is warranted “on the basis of newly
discovered evidence, ii'aud, concealed evidence, misrepresentation & and misconduct" by GHW
and its counsel. Bradford has previously made the same type of unsupported and unwarranted
defamatory statements against GHW and its counsel. Last summer, this Court warned Bradford

about making any further defamatory statements of this nature. GHW intends to seek sanctions

21

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 22 of 47

in a separate Rule ll Motion due to Bradford’s condoned attempts to defame GHW and its
counsel . .. . "
89. In GHW January 14, 2014 Opposition to Bradford’s Motion to Compel for production of
Documents, they declared: “...The GHW Defendants concede that a discussion with Bradford,
as required by Rule 31'(a)(l), may have been a useless gesture, as undersigned counsel has
repeatedly stated in two status conferences with Judge Milazzo that the GHW Defendants have
produced all documents in their possession and control regarding the underlying litigation to
Bradford. Nonetheless, Bradford is still UNDER TI-IE DELUSION that the Gl-IW Defendants
arc somehow hiding documents...“
90. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the American Consulate in Milan, Italy, demonstrating that Chiari produced, by
email, to Williams, partner of GI-IW, on August 28, 2013, the original copy of the Italian
Document List.
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GHW Perium regarding the Italian Document List (in the Civil Action No. 13-2407 at the
USDC!EDLA`):
91. On June 2, 2015 in GHW's Opposition to Bradford's Motion for Relief, they intentionally
declared that: "...ln sum, Bradford has submitted absolutely no evidence to support her
defamatory allegations, much less with clear and convincing evidence...Bradford bases her
Motion on three sections of Rule 60(b): 2 (newly discovered evidence}, 3 (fraud) and 6 (any
other reason that justifies reliei). Bradford claims her Motion is warranted “on the basis of newly
discovered evidence, fraud, concealed evidence, misrepresentation & and misconduct” by GHW

and its counsel. Bradford has previously made the same type of unsupported and unwarranted

22

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 23 of 47

defamatory statements against GHW and its counsel. Last summer, this Court warned Bradford
about making any further defamatory statements of this nature. GHW intends to seek sanctions
in a separate Rule 11 Motion due to Bradford’s condoned attempts to defame GHW and its
counsel. . . "

92. This declaration was used, in writing, in a judicial proceeding, in the Civil Action No. 13-
240? at the USDC/EDLA.

93. Williams_. partner of GHW was in actual and effective possession of the Italian Document
List since he received it ii'om Chiari, by certified email, on August 28, 2013.

94. In GHW January 14, 2014 Opposition to Bradford’s January 2, 2014 Motion to Compelq
they intentionally requested an Oral Argument declaring that they did not have in their control or
possession the Italian Document List. This declaration was used, in writing, in a judicial
proceeding at the USDCFEDLA.

95. They also declared, on May 2'?, 2014. that they "have obtained these documents
independently in preparation for the trial of this matter."

96. GHW have never produced, in the Civil Action No. 13-2407 at the USDC/EDLA,
documentary evidence that proves how, when and from whom they “have obtained these
documents independently in preparation for the trial of this matter.”

9?. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the Arnerica.n Consulate in Milan, Italy, demonstrating that Chiari produced_, by
email, to Williams, partner of GHW, on August 28, 2013, the original copy of the Italian
Document List.

COUNT 2

23

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 24 of 47

Bradford’s July 23/3 0, 2012 Replv to Colosio’s Jl_llv 9, 2012 Statement of Defense
“Bradford’s 2012 Re l to Colosio” with a list of attached documents consisting of

Sworn Italian Affidavits of New Witnesses pursuant to art.39l his Code of Crinlinal

Procedure and 391 ter C.P.P.: Attachments number 13,14,15..16.17,18..19 aLdZO ("Itali£
Ai`iidavits of New Witnesses”[ and Bradfortj’s Jt_llv 6. 20_13 Perjgrv Complaint against
Colosio (“Bradford v§, Colos_io Peril_lrv Complaint”)

98. C-hief Complaint #l: GHW Violation of the Discovery Phase by failing to produce the

Italian Affidavits of New Witnesses (in the Civil Action No. 13-240'}' at the USDC/EDLAL

99. Chief Complaint #2: GHW Concealment of Bradford’s 2012 Renlv to Colosio with a list
of attached documents consisting of Italian Afiidavits of New Witnesses and the Bradford vs.
Colosio Periurv Complaint ( in the Civil Action No. 13-2407 at the USDC!EDLA):

100. Chief Complaint #3: GHW Sabatoge of the Pre-Trial Phase and Violation of the
December 4. 2013 Pre-Trial Notice regarding Bradford’s 2012 Renlv to Colosio with a list of
attached documents consisting of Italian Aiiidavits of New Witnesses and the Bradford vs.
Colosio Periurv Complaint ( in the Civil Action No. 13-2407 at the USDC/EDLA):

101. Chief Complaint #4: GHW Defamatorv Allegations against Bradford, regarding
Bradford’s 2012 Replv to Colosio with a list of attached documents consisting of Italian
Afiidavits of New Witnesses and the Bradford vs. Colosio Periurv Complaint ( in the Civil
Action No. 13-2407 at the USDC!EDLA)

1.02. Chief Complaint #5 - GHW Periurv regarding Bradford’s 2012 Replv to Colosio with a

 

list of attached documents consisting of Italian Aflidavits of New Witnesses and the Bradford vs.

Colosio Periurv Complaint ( in the Civil Action No. 13-240? at the USDCfEDLA):

24

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 25 of 47

103. In the Italian Civil Case, the last legal document produced and filed by Williams, partner
of GHW and Chiari is Bradford’s 2012 Reply to Colosio with a list of attached documents
consisting of Italian Affidavit_s of New Witnesses and the Bradford vs. Colosio Perjury
Complaint

l04. On July 28f30, 2012, Chiari forwarded, by Certified Email, to Williams, partner of GHW,
a copy of the filing of Bradford‘s 2012 Reply to Colosio with a list of attached documents
consisting of Italian Aftidavits of New Witnesses and the Bradford vs. Colosio Perjury
Complaint

105. 011 July 28, 2012, Chiari forwarded, by email, to Italian Judge Giuseppe Magnoli, a copy
of the filing of Bradford's 2012 Reply to Colosio with a list of attached documents consisting of
Ital ian Aftidavits of New Witnesses and the Bradford vs. Colosio Peijury Complaint

l06. On July 28, 2012, Chiari forwarded, by email, to P.M. Paolo Savio, a copy of the filing of
Bradford's 2012 Reply to Colosio with a list of attached documents consisting of Italian
Affidavits of New Witnesses and the Bradford vs. Colosio Perjury Complaint

107. On August 221 2013, GHW produced to Bradford 2 Bates labelled CD's containing
among other things Bradford's 2012 Reply to Colosio without the Italian Affidavits of New
Witnesses.

108. On February 2?, 2014, Chiari forwarded, by email, to Fumagalli, Bradford's 2012 Reply
to Colosio with a list of attached documents consisting of Italian Affidavits of New Witnesses
and the Bradford vs. Colosio Perjury Complaint

109. On April 28, 20]5, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the Arnerican Consulate in Milan, Italy, demonstrating that Chiari forwarded to

Fumagalli, on February 27, 2014. the email containing Bradford’s 2012 Reply to Colosio with a

25

 

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 26 of 47

list of attached documents consisting of Italian Afiidavits of New Witnesses and the Bradford vs.
Colosio Peljury Complaint
llO. On May 27, 2014, by email_. GHW forwarded to Bradford ("f`or her review") for the first
time, Fumagalli's March 30, 2014 Legal Report.
111. The Court’s December 4, 2013 Pre-Trial Notice granted Bradford the right:

(a.) To initiate the Pretrial Conference

(b.) To confer in person (face to face) or by telephone with opposing counsel at her
earliest convenience for the purpose of arriving at all possible stipulations and for the exchange
of copies of documents that will be offered in evidence at the trial. lt was Bradford"s duty to
initiate this conference, and the duty of the other counsel to respond

(c.) 'l`o communicate immediately with the Court if, after reasonable effort, any party
cannot obtain the cooperation of other counsel-
l 12. Bradford_. on the other hand, did not have the possibility of comparing the documents that
were to be offered in evidence at the trial with opposing counsel because on July 1'}', 2014, at the
In Court Status Conference, DeLaune declared that she did not want to communicate with
Bradford. The Court, as an exception, in contrast to the Pre Trial Notice, accepted DeLaune‘s
request not to confer in person with Bradford
113. On July 1, 2014, Bradford contested (to the Court and to GHW) Furnagalli’s Legal
Report for the concealment of evidence
114. ln Bradford’s July l, 2014 “review" of` Fumagalli's Expert Report Where she contests his
concealment of evidence, she declared: “...In Fumagalii's Expcrt Report, he cites some of the
contents of the Criminai Complaint that Bradford filed in 2007 with. . .Professor!Attorney Carlo

Taorrnina (“Taomiina”)...thus continuing that he read the entire Complaint Therefore, he

26

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 27 of 47

intentionally does not mention the existence of Witnesses and their affidavits already collected by
Taormina, which irrefutany proves the validity of Bradford's 50 thousand euro monthly
agreement between Bradford & Colosio and the evidence cfa sentimental relationship between
Bradford and Colosio, specifically requested by Judge Magnoli. . ."

115. On July 3, 2014, GHW filed Fumagalli's 12 page Legal Opinion and his 3 page
Declaration attached and in support of their MSI.

116. From 2012 until today, GHW has never produced in the Civil Action No- ]3-2407 at the
USDC!EDLA or to Bradford, the Italian Affidavits of New Witnesses attachments #13, #14, #15,
#16, #l?, #18. 151£]91 and #20, attached to Bradford’s 2012 Reply to Colosio, filed by Williams,
partner of GHW and Chiari, on July 28/30, 2012 at the Court of Brescia, ltaly

ll?. In GHW August 22, 2013 production of Bates labeled documents, they admit the
existence and contents of Bradford‘s 2012 Reply to Colosio. In Bradford's 2012 Reply to
Colosio_. Chiari & GHW declared: “.,.The attorneys of the complainant insist in their
conclusions and are opposed to the trial reconstruction of the respondent Colosio through the
witnesses mentioned in the closing statement. . .".

118. Williams and Chiari’s declaration signifies that Williams and Chiari, not Bradford,
declare that Colosio and the 12 witnesses have falsified and manipulated the reconstruction of
facts, to their advantage and to the detriment of Bradford, in the civil case contrary to the
evidence produced in court and with the testimony of the new witnesses that are enclosed

119. On September 8, 2013 Chiari declares to Willams, by email, that he collected Bradford's
complete original Italian Civil Case tile from the Court of Brescia, Italy.

120. On April 28_, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits

authenticated by the American Consulate in Milan, Italy, demonstrating that on September S,

27

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 28 of 47

2013 Chiari declares to Willams, by email, that he collected Bradford's complete original Italian
Civil Case tile from the Court of Brescia, ltaly

l2l- On April 30, 2015, Barbetti, in her sworn affidavit authenticated by the Arnerican
Consulate in Florence, Italy, declared:

(a.) ...“Fumagalli fails to mention that Williarns with Chiari, in their July 28!30, 2012
Reply to Colosio’s July 9, 2012 Statement of Defense, which he doesn’t discuss in his Legal
Report nor in his Affidavit, proclaimed that they would defend Bradford up until the
international level for the violation of the right to a fair trial as stated in the 6th principle of the
ECHR Convention: “In the determination of his civil rights and obligations everyone is entitled
to a fair and public hearing within a reasonable time by an independent and impartial tribunal
established by law".._

(b.) ...The European Court has stressed the importance of appearance in the
administration ofjustice: it is important to make sure the fairness of the proceeding is apparent
The principle of “equality of arms” is also inherent in the broader concept of a fair trial. Article6
§l does not explicitly guarantee the right to have witnesses called, and the admissibility of
Witness evidence is in principle a matter of domestic law. However, “the proceedings in their
entirety, including the way in which evidence was permitted, must be “fair” Within the meaning
of Article6 §1 (ln Dombo Beheer B.V. v. the Netherlands, only one of the two key witnesses was
permitted to be heard §§31-34- 35)

(c.) ...As Furnagalli stated in his Legal Report (§38), Chiari requested the Court to
substitute the Witrless Roberto Colaninno, charged by Bradford for perjury_. with Sala, The Court
dismissed Chiari’s application (§38 of Fumagalli’s Legal Report). ln my opinion, this decision of

the Court violates the principle of "fair trial" as interpreted by the case law of the ECHR,

28

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 29 of 47

Fumagalli is a Professor of private and procedural international law. Therefore, l cannot explain
why he didn’t mention Williarns declaration in Bradford’s Reply to Colosio’s Statement of
Defense, that was filed by Chiari, his co-counsel, on July 28130. 2012 at the Court of Brescia,
I'taly “that he shall defend Bradford’s right to a fair trial even at the international level“...

(d.) .,.I must confess that I arn not a Professor of International Law, but I am familiar to
proceedings before the European Court of Human Rights. At the first level of the Civil Case,
Bradford’s right to Due Process has been violated by the rules of procedure as applied by
Magnoli when he did not admit the evidence contained in the Bradford/Taormina 2002 Criminal
Complaint against the 12 witnesses who testified in the Civil Case, when he did not give
Williams & Chiari the possibility to question Sala and when he did not give Williams & Chiari
the possibility to hear witnesses other than those that Bradford pressed charges against for
perjury...

(e.) ...One of` the main rules for the admissibility of an application to the ECHR is the
art. 35 para l Local Remedies Rule that states that the party has previously tried all the possible
internal remedies before going to the ECHR. Therefore, the Appeal of Magnoli September 13q
2012 Judgment, was essential. . .“

M.M
GHW Violation of the Discoverv Phase bv failing to produce the ltal ian Af`fidavits of New
Witnesses ( in the Civil Action No. 13-240? at the USDC!EDLA:
122_ In GHW June 2, 2015 Opposition to Bradford’s Motion for Reliet` from Final Judgment
they declared: “...In essence, Bradford claims that GHW and DKS concealed documents (emails
and pleadings) from the underlying litigation that Bradford requested during the discovery

process. As undersigned counsel has repeatedly explained to Bradford and this Court_, GHW

29

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 30 of 47

produced all requested documents in their possession1 custody and control. Simply because a
pleading was filed in the Colosio litigation during GHW’s involvement does not mean that such
a document was in GHW’s possession at the time Bradford filed her lawsuit...”.
123. On July 3, 2013, pursuant to the Federal Rules of Civil Procedure 26, Bradford requested,
nom GHW; the complete set of documents pertaining to her that were sent from Italy to GHW.
124. There is no documentary evidence that GHW produced the Italian Affidavits of New
Witnesses in the Civil Action No 13-2407 at the USDC/EDI_,A and to Bradford.
125. On April 28, 2015, Bradford obtained Chiari and Barizza’s sworn affidavits,
authenticated by the American Consulate in Milan, Italy, demonstrating that Chiari forwarded to
Fumagalli, on February 27, 2014, the email containing Bradford’s 2012 Reply to Colosio with a
list of attached documents consisting of Italian Affidavits of` New Witnesses and the Bradford vs.
Colosio Perjury Complaint
CHIEF COMPLAINT #2
GI-IW Con_c;t@lment of Bradford`s 2012 Replv to Colosio with the Italian Affidavits of New
Witnesses ( in the Civil Action No. 13-2407 at the USDC/EDLA}:
126. On May 15_. 2015, Bradford contested Fumagalli's Legal Opinion as conveyed in her
Motion for Relief` from Final Judgment for the concealment of evidence in reference to the
Italian Affidavits of New Witnesses.
CHlEF COMPLAlN'I` #3
GHW Sabatoge of the Pre-Trial Phase and Violation of the December 4. 2013 Pre-Trial Notice

regarding Bradford's 2012 Rep_ly to Colosio with a list of attached documents consisting of

Italian Affidavits of New Witnesses and the Bradford vs. Colosio Periurv Complaint ( in the Civil

Action No. 13-2407 at the USDC!EDLAl:

30

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 31 of 47

127. In GHW June 2, 2015 Opposition to Bradford’s Relief from Final Judgment they
declared: “...Bradford bases her Motion on three sections of Rule 60(b): 2 (newly discovered
evidence), 3 (fraud) and 6 (any other reason that justifies relief). Bradford claims her Motion is
warranted “on the basis of newly discovered evidence, fraud, concealed evidence,
misrepresentation & and misconduct" by GHW and its counsel...”
128. On .lune 27, 2014, by email, DK, attorneys representing in the name and on behalf of
GHW, forwarded to Bradford, "for her review", for the first time, Fumagalli's 12 page March 30,
2014 Legal Opinion.
129. But on the exact same day that they declared that Bradford had the right to review
Furnagalli’s 12 page March 30, 2014 Legal Opinion, Fumagall’s June 27, 2014 4 page Sworn
Affidavit is produced.
130. On .luly l, 2014, Bradford contested (to the Court and to Gl-IW) Fumagalli‘s Legal
Report for the concealment of evidence
131. On May 15, 2015, Bradford contested Fumagalli's Legal Opinion as conveyed in her
Motion for Relief from Final Judgment for the concealment of evidence in reference to the
Italian Affidavits of New Witnesses.
MCOMMLM
GHW Defamatorv Alleaations against Bradford regarding Bradford’s 2012 Reolv to Colosio
with a list of attached documents consisting of Italian Affidavits of New Witnesses and the
Bradford vs‘ Colosio Pcrillrv Com_pl_a_int fin the Civil Action No. 13-2407 at the USDC!EDLA):
132. On June 2, 2015 in GHW's Opposition to Bradford‘s Motion for Relief, they intentionally
declared that: "...In sum, Bradford has submitted absolutely no evidence to support her

defamatory allegations, much less with clear and convincing evidence-..Bradford bases her

31

 

Case 2:16-cv-O3692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 32 of 47

Motion on three sections of Rule 60(b): 2 (newly discovered evidence`), 3 (fraud`) and 6 (any
other reason that justifies relief). Bradford claims her Motion is warranted “on the basis of` newly
discovered evidence, fraud, concealed evidence, misrepresentation & and misconduct” by GHW
and its counsel. Bradford has previously made the same type of unsupported and unwarranted
defamatory statements against GHW and its counsel. Last summer, this Court warned Bradford
about making any further defamatory statements of this nature GHW intends to seek sanctions
in a separate Rule ll Motion due to Bradford’s continued attempts to defame GHW and its
counsel . . .- "

133. ln GHW January 14_, 2014 Opposition to Bradford’s Motion to Compel for Production of
Documents, they declared . .The GHW Defendants concede that a discussion with Bradford. as
required by Rule 3'i'(_a){1)1 may have been a useless gesture, as undersigned counsel has
repeatedly stated in two status conferences with Judge Milazzo that the GHW Defendants have
produced all documents in their possession and control regarding the underlying litigation to
Bradford. Nonetheless, Bradford is still UNDER THE DELUSION that the GHW Defendants
are somehow hiding documents . ."

MAHT_£§

GHW Periurv regarding Bradford’s 2012 Reolv to Colosio with a list of attached documents
consisting of Italian Affidavits of New Witnesses and the Bradford vs. Colosio Periurv
Complaint ( in the Civil Action No. 13-2407 at the USDC!EDLA}:

134. On March 3, 2016, by Certified Email, Chiari requested DeLaune to withdraw

Fumagalli’s Sworn Affidavit from the USDC/EDLA.

135. ln Chiari’s March 3, 2016 Certified email, he declared:

32

Case 2:16-cv-O3692-.]Tl\/l-KWR Document 1 Filed 04/22/16 Page 33 of 47

(a.) “...Fumagalli produced his March 30, 2014 Legal Opinion and his June 2'1`, 2014
Swom Affidavit as an attorney registered to the Milan Bar Association and as a Professor of
Private International Law. lt was his professional duty, as my colleague, to cite my production
and analysis of documents (as Well as their content and their significance) exactly as I did for
hirn on behalf of DK. In addition, Fumagalli should have cited my legal representation and that
of Williams (on behalf of Bradford) exactly as the documents filed in the Court of Brescia, Italy.
In order to convey to the United States District Court!Eastern Di strict of Louisiana. . .

(b.) . . .a correct vision and adhering to the documentary evidence of what l declared and
forwarded to your Attomey Luigi Fumagalli_. I request that the integration and the corrections
that I requested of the above, is immediately corrected by ALL correspondence (in the original
version and with a certified English translation) exchanged between myself and Fumagalli from
February 2, 2014 to March 6, 2014. Neither can I accept that my professionalism and integrity
are questioned by partial and inaccurate Declarations about my professionalism and me. You
have to realize that what 1 am requesting of you to clarify with this letter was also SWORN by
me, on April 28, 2014, before the United States Consulate, in Milan, Italy. ..

(c.) ...My Apri 28, 2015 Swom Afiidavit was produced by Bradford in her May 15,
2015 Rule 60(b) motion...The following modifications are ESSENTIAL: The respect of Due
Process requested by Williams and Chiari, on May 10_. 2012, in the Bradford vs. Colosio Civil
Case No. 11672."03 at the Court of Brescia, Italy. The filing of` Bradford*s July 281'30, 2012 Reply
to Colosio’s July 9, 2012 Statement of Defense, in the USDC!LAED. . .in the Bradford vs. GHW
Case. On July 28!30, 2012, James M, Williams and his Italian Domiciliary, Attorney Marco
Chiari, filed Bradford‘s 2012 Reply in order to protect her constitutional rights both in Italy and

at the international level. ..

33

Case 2:16-cv-O3692-.]Tl\/|-KWR Document 1 Filed 04/22/16 Page 34 of 47

(d.) ..-The filing of Colosio’s .luly 6, 2012 Perjury Complaint1 in the USDC)'LAED...in
the Bradford vs. GHW Case. On lluly 6, 2012, Williams andChiari, on behalf of Bradford (in the
Bradford vs Colosio Italian Civil Case), filed this Perjury Complaint and confirmed this
Complaint, on September 22, 2012, after and in spite of Magnoli's September 13_, 2012, ruling
against Bradford for vexatious litigation I look forward to your immediate feedback, given the
absolute seriousness of the situation. .

136. In GHW's June 2, 2015 Oppositiorr to Bradford's Motion for Relief from Final Judgmenr,
they reconfirmed Fumagalli's March 30, 2014 Legal Report and his June 30, 2014 Af`fidavit
therefore continuing his declaration: "I reviewed the submissions filed by the parties in the
Brescia Proceedings, which were kindly supplied to me by Mr Marco Chiari (Chiari), an attorney
from Bergamo who also assisted Bradford. As per your request, l provide you with: A. a
summary description of the Italian civil proceedings; B. a description of the Brescia Proceedings,
as resulting from the documents l reviewed; C. a summary of the parallel criminal litigation;...E.
a description of the role of Williarns in the Brescia Proceedings;..."

137. ln GHW Opposition to Bradford’s Motion for Relief from Final Judgment1 they declared:
“...At the May 10, 2012 hearng, the Court of Brescia set deadlines for the filing of final
submissions by the parties'. On July 6, 2012, Bradford filed her Statement of Conclusion, while
Colosio filed his statement of Defense for Defendant Franco Colosio on .luly 9, 2012. Thereaf’ter,
on July 29, 2012, Colosio filed a Reply Statement of Defense for Defendant Franco Colosio,
addressing the alleged fact and law contained in Bradford's Statement of Conclusion. . .”

138. This declaration was used, in Writi.ng, in a judicial proceeding, in the Civil Action No. 13-

240?' at the USDC»"EDI_.A)

34

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 35 of 47

139. On August 22, 2013, GHW produced, to Bradford, in the Civil Action No. 13-2407 at the
USDC}EDLA), her 2012 Reply to Colosio, in their production ot`Bates labeled documents

140. On February 27, 2014, Chiari forwardod, by certified email, to Fumagalli_. Bradford‘s
2012 Reply to Colosio.

141. On February 28, 2014, Fumagalli contirmed, to Chiari, to have received Bradford's 2012
Reply to Colosio and to have noticed that Professor/Attorney Carlo Taonnina's ("Taormina")
2002 Criminal Complaint is one of the attached documents

142. On April 28, 2015, Bradford obtained from Chiari and Barizza’s sworn aftidavits,
authenticated by the American Consulate in Milan, Italy, demonstrating that Chiari, on February
27, 2014 forwarded, by certified email, to Fumagalli, Bradford’s Reply to Colosio and that on
February 28, `2014, Furnagalli confirmed to Chiari, to have received Bradford's 2012 Reply to
Colosio and to have noticed that Professor/Attorncy Carlo Taormina's ("Taormina") 2002
Criminal Complaint is one of the attached documents

143. GHW concealment of Bradford’s Reply to Colosio is a manipulation of the
implementation of the Italian Civil Case as demonstrated in the original Italian Civil Case tile
and as confirmed in Barbetti’s April 30, 2015 sworn attidavit, authenticated by the American
Consulate in Florence, ltaly

144. On July 28/30, 2012, Williams and Chiari, on behalf of Bradford, contested Colosio‘s
July 9, 2012 Statement of Defense.

145. [f`GH\lV conceals Bradford's July 28!30, 2012 Reply to Colosio’s July 9, 2012 Statement
of Defense, it shows that Bradford has accepted the contents of Colosio's July 9, 2012 Statement
of Defense without filing an Oppositon.

COUNT 3

35

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 36 of 47

The May 12, 2014 Enm'sh translation of the Procura alle Liti ("English translated POA" |:

146. Chief Complaint # 1: GHW Maninulation ot` E,vidence regarding the Mav 12. 2014
@gli_sh translated POA (in the Civil Action No. 13-2407 at the USDCFEDLA]:
14?. Chief` Complaint # 2: GHW Violation of the December 4. 2013 Pre-Trial Notice
regarding the POA (in the Civil Action No. 13-240? at the USDC;‘EDLA):
148. Chiet` Complaint # 3: GHW Fraud and Violation of Rule 901 regarding the POA fin the
Civil Action No. 131-2407r at the USDC;'EDLA`}:
149. On June 2, 2015, in GHW Opposition to Bradford’s May 15, 2015 Motion Jfrom Final
Relief, they confirmed that documents must be translated in English otherwise they are not
relevant or admissible
150. On May 12, 2014, GHW forwarded to Bradford, in their Request for Admission, a
manipulated version of the original Italian POA translated in English.
15 l. On May 23, 2014Bracli`ord contested the translation as it manipulates the content and the
completeness of the document and therefore the originality of the POA.
152. On July 3, 20l4, GHW produced and attached, to the MSJ, the original Italian version of
the POA and the translated English manipulated version.
CI-HEF COMPLA]NT #I
GI~IW Manipulation of Evidence regarding the May 12, 2014 English translated POA tin the
Civil Action No. 13-2407 at the USDC£EDLA):
153. On June 2, 2015 in GHW'S Opposition to Bradford's Motion for Relief, they declared:
“. . .Bradford also asserts in various sections of her Motion that GHW and its counsel "`sabotaged
the discovery phase“ of this litigation by attaching English translated documents not adhering to

the contents of the original Italian Documents. Again, this matter has been addressed by

36

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 37 of 47

undersigned counsel numerous times. As explained to both Bradford and this Court, the
translation service which translated the Request to Reopen from Italian to English failed to
include James Williams’ name at the bottom of the translated document When this error was
brought to GHW’s attention, Gl-IW noted the error and stated that GHW would stipulate that Mr.
Williams’ name was included on the original document Bradford continues to attempt to make
an issue of this error when: (1) there was no intent to deceive; (2) it was simply a translation
error and (3) the proposed GHW stipulation would have rectified the matter. In sum, Bradford
has submitted absolutely no evidence to support her defamatory allegations, much less with clear
and convincing evidence. . .”
154. On June 10, 2015 and on May 15, 2015 Bradford contested the English translation of the
May 4, 2012 Italian Procura Alle Liti (“POA") because it did not match the original Italian
version of the contract signed by Bradford, Williams and Chiari.
CHIEF COMPLAINT #2
GHW Violation of the December 4. 2013 Pre-Trial Notice regarding the May 12, 2014 English
translated POA ( in the Civil Action No. 13-2407 at the USDC!EDLA)
155. On June 10, 2015 and on May 15, 2015_, Bradford contested the English translation of the
May 4, 2012 Italian Procura Alle Liti (“POA") because it did not match the original Italian
version of the contract signed by Bradford, Williams and Chiari.
156. GHW produced their manipulated version of the POA translated in English, in spite of
Bradford’s July l, 2014 contestation, in their July 3, 2014 MSJ.
15?. GHW produced Bradford‘s contested English translated POA in their July 3, 2014 MSJ,
and the USDC/EDI_,A accepted GHW MSJ while being aware of Bradford‘s July l. 2014

WaiverfContestation that the English translation was manipulated and incomplete

37

 

 

Case 2:16-cv-O3692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 38 of 47

CHIEF COMPLA]NT #3

GHW Fraud and Violation of Rule 901 regarding the May 12, 2014 English translated POA@

the Civil Action No. 13-2407 at the USDC!EDLA]:
158. On June 2, 2015, in GHW Opposition to Bradford's Motion for Relief from Fiual
Judgment, they declared: "...exhibits submitted by Bradford on the grounds that these documents
are not “newly discovered,” are not relevant, are not properly authenticated and are not
admissible because they are written in ltalian...Assuming Chiari’s assertion that he is “in
possession” of the documents satisfies the authentication requirements of Rule 901, he has
referenced email communications with Luigi Fumagalli that are written in Italian. Thus. even if
authenticated, those emails are not admissible."
159. On July 3, 2014, GI-IW produced and attached to their MSJ, the English translated POA
in the manipulated version in addition to the original Italian version
|60. ln GHW's June 2, 2015 Opposition to Bradford's May 15, 2015 Motion for Relief from
Final Judgment1 they declared: “Bradford also asserts in various sections of her Motion that
GHW and its counsel “sabotaged the discovery phase" of this litigation by attaching English
translated documents not adhering to the contents of the original Italian Documents...ln sum,
Bradford has submitted absolutely no evidence to support her defamatory allegations, much less
with clear and convincing evidence."
161. ln GHW Opposition to Bradt`ord's May 15, 2015 Motion for Relief, they cited the MSJ.
There is no evidence that GHW corrected the manipulated version of the POA translated in
English.
162. Furnagalli‘s Expert Report and the MSJ are based on the the Bradford vs. Colosio Italian

Civil Case and the role of Williams regulated by the POA. In the MSJ, the Italian version of the

38

 

Case 2:16-cv-O3692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 39 of 47

POA results integral and original and does not satisfy the authentication requirements of Rule
901. The only original and complete POA is in Italian and therefore not relevant and not
admissible
163. On July 1, 2014, Bradford contested GHW manipulated English translation of the POA-
GHW produced this manipulated English translation, in the Pre-Trial Phase and in their June 2,
2015 Opposition to Bradford's May 15, 2015 Motion for Reliet` from Final Judgment, in spite of
Bradford‘s contestation.
164. GHW reconi'irrned the manipulated English translation ot` the POA in their June 2, 2015
Oppositon to Bradford‘s May 15, 2015 Motion for Reliei` from Final Judgmentl The MSJ is
based on the manipulated English translation of the POA and the original Italian version. Since
the original Italian version which GHW produced iu their MSJ is not translated for the
USDC)’EDLA, the content of this original verson is unlmown1 irrevelant and inadmissible
165. ln GHW June 2, 2015 Opposition to Bradford’s Motion for Relief, they contested
Bradford's Italian evidence and simultaneously validated their July 3, 2014 MSJ on Italian
evidence With a manipulated English translation already contested by Bradford_, on July l, 2014.
in the Pre-Trial Phase
COUNT 4

James M. Williams, partner of GHW. Agggst l. 2013 entail to Attorney Marco Chiari
166. Chief Complaint #l: GHW Periurv and Defarnation against Bradford ( in the Civil Action
No_ 13-2407 at the USDC)'EDLAl

167. On August 1, 2013 (18:04), Wi]liams forwarded to Chiari, his former co-counsel, and

concealed from Bradford, an entail where he proclaims:

39

 

Case 2:16-cv-O3692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 40 of 47

"Dear Marco: AS you know, our engagement with Ms. Bradford was limited to assisting her
with the "closr'ng argumenr" that was supposed to occithl when 1 appeared in coro'rfor the end of
her trial fn Italy. 1: is my understanding that there have been developments in the case since my
appearance 1 am in Amer'ico, 1 don’r speak 1!olian, and therefore mode it clear to Ms. Bradford
that l was very limited in what l could do for her. She understood this and told me that my role
was reollv to be on Amerr`can presence that She hoped would keep the Italian courts honest --
because she perceived them to be corrupt 11 has been brought to my attention that 1 never
withdrew the power of attorney that 1 executed which allowed me to appear in court for her. 1
need to withdraw my power of attorney at this time in light of the fact thor 1 am no longer
working on her cose. ban you please explain how we accomplish th.i`.s? "

168. 0n April 28, 2015, Bradford obtained Chiari and Barizza’s sworn aftidavits,
authenticated by the American Consulate in Milan, Italy, demonstrating that Chiari received
Williams August l, 2013 email.

169. [n GHW July 3, 2014 MSJ, in their June 2, 2015 Opposition to Bradford's Motion t`or
Relief from Final Judgment and by means of DeLaunc, on March 3, 2016, to Chiari, they
confirmed Fumagalli's Legal Opinion and his Sworn Aii‘idavit.

170_ On August l, 20]3, Williams declared to Chiari that he was not able to represent
Bradford in Italy and that his role in the Italian Civil Case was to be present at the May 10, 2012
hearing to protect Bradford from corrupt Italian Courts.

171. On June 30, 2014, Fumagalli produces a Swom At`tidavit declaring that Williams and
GHW have done everything possible regarding the Italian Civil Case and that they have

represented Bradford well.

40

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 41 of 47

172. On August 1, 2013, Williams’ definition of his role1 to Chiari, in the Italian Civil Case,
do not correspond neither to the legal documents filed by him and Chiari in ltaly nor to
Fumagalli‘s definition of Williams role and continued by Williams and GHW from July 3, 2014
to March 3, 2016.
M§
GHW Periu§y and Defamation against Bradford regarding Alessandro Dell’Orto’s April
M¢Ml__slii
173, On April, 28, 2015, Alessandro Dell’Orto produced to Bradford, a sworn afiidavit,
regarding Bradford’s media image, authenticated by the American Consulate in Milan, Italy.
174. On June 2, 2015, in GHW Opposition to Bradford's Motion for Relief from Final
Judgment, they declared that Dell'Orto "...provides speculation as to a media campaign that
"could have re-launched the case of Bradford" and discusses Google searches for Bradford’s
name. This is pure speculation that is not admissible evidence . ."
175. 011 May 29, 2012, GHW forwarded to Bradford an email, declaring: "Subject: media
attention- now is the time. There is a story to be told in the media to encourage the defense to
lean toward wanting to settle now and james needs to get that story spread asap. Now is the time
for that media blitz to generate Please have anyone who can spread your story in the media call
james as soon as possible James will best direct the story to your case benefit Your efforts here
Will greatly aid your chance of a settlement offer- Please have these parties get in touch with
james or get their contact information to james after speaking with them and learning they are
willing to help".
176. Dell'Orto did not produce inadmissible evidence as GHW falsely continued in their June

2, 2015 Opposition to Bradford’s May 15, 2015 Motion for Relief from Final Judgment.

41

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 42 of 47

177. Dell‘Orto commented on the evidence contained in GHW May 29, 2012 email.

178. There is no documentary evidence, from the May 29, 2012 email, that GHW "used the
media to encourage the defense to lean toward wanting to settle now."

179. There is no documentary evidence, h'om the May 29, 2012 email, that GHW "directed the
story to Bradford's case benefit."

180. There is no documentary evidence that GHW utilized the media to settle the Italian Civil
Case.

181. lt turns out that GHW deprived Bradford of the possibility to negotiate with the
counterparty in the italian Civil Case.

182. lt turns out that GI-IW have denied evidence in the USDCtEDLA and reconstructed false
facts.

183. GHW have also defamed Dell‘Orto declaring that his April 28, 2015 Sworn Af`fidavit,
authenticated by the Ainerican Consulate in Milan, ltaly, is pure speculation

184. Before Williams. partner of GHW entered in the scene for Bradford's legal proceedings,
Bradford, in Italy, had received total attestation of credibility to the declarations she conveyed to
the media and to the evidence presented in the criminal trial pursued by the financier and
business partner of Franco Colosio, Emilio Gnutti, against Narissa Bradford for libel. Judge
Michele Montingelli in the first level of` the criminal trial pursued by the financier and business
partner of Franco Colosio, Emilio Gnutti, against Narissa Bradford for libel, and Magistrates
Pierangelo Guerr"iero, Daniela Anna Fontana and Silvana Petrorner from the Court of Appeals
(Milan) in the second level of the criminal trial to which Emilio Gnutti had appealed, ruled that

all the statements made by Bradford in the interview given to the most important Italian

42

 

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 43 of 47

newspaper, II Corriere della Sera, Were true based on evidence of the facts and documents
presented by Bradford.

185. Bradford‘s allegations, contained in this April 20, 2016 Civil Complaint, of Frau¢
Petjury, Defamation, Concealing Evidence and Violation and Sabatoge of the December 4, 2013
Pre-Trial Order, the January 22, 2014 Order and the Discovery Phase, against GHW, arose out
of Civil Action No. 13-2407 at the USDC!'E.DLA.

186. On December 13, 2013, Bradford filed a Second Amended Complaint, at the
USDC¢’EDLA, seeking damages against GHW for violations of the Louisiana Rules of
Proi`essional Conduct (“LRPC”) arising to breach oi` contract and fiduciary duties, concealing of
documents, non-fulfillment on behalf of the GHW Defendants, refusal to tile an important
opposition document and scrambling of documents

lS'?. Bradford‘s December 13. 2013 Complaint does not contain the Claims of Fraud and
Perjury, as declared by the USDC)‘EDLA on December 4, 2013: “As to the claims of fraudulent
acts and perjury, however, the Court finds that these claims are fntile, as Bradford has failed to
state a claim for which relief may be granted”.

188. Bradford's Claims dismissed with Prejudice by the USDC!EDLA on September 8, 2014,
continued by the Court‘s July 16, 2015 Order are: l. Failure to File Certain Documents, ll.
Failure to lnform PlaintiH of Settlement Opportunity, III. Failure to Appeal, lV. Failure to
Communjcate, V. Failure to Reinstate Media Image.

189. Bradford has proven in this Complaint, by clear and convincing evidence, that GHW and
Williarns engaged in fraud or other misconduct that prevented Bradford from fully and fairly

presenting her case in the Civil Action No. 13-2407 at the USDC;'EDLA.

43

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 44 of 47

190. ln Barbetti‘s April 30, 2015 Sworn Afiidavit, she declared: “...Fumagalli’s Legal Report
and Affldavit are clearly biased and full of omissions upon crucial issues, aimed to defend the
validity of Magnoli’s Judgment, which had a very high probability of being refonned. Irl my
opinion, Fumagalli has misled Judge Milazzo, who, in her September 8, 2014 Judgment,
dismissed Bradford’s claims, in their entirety, with prej udice. . .”

191. On February 22, 2016, Chiari, who filed and signed the civil and criminal legal
documents in 2012, as GHW co-counsel for Bradford's Claims against Colosio, declared: . .I do
not Want to be associated indirectly to false Legal Opinions/Sworn Aff`idavits or any damages
tofagainst Narissa Dawn Bradford. Neither can l accept that my professionalism and integrity are
questioned by partial and inaccurate Declarations about my professionalism and me. You have to
realize that what l am requesting of you to clarify with this letter was also SWORN by me, on
April 28, 2014, before the United States Consulate, in Milan, Italy. My Apri 28, 2015 Sworn
Affidavit was produced by Bradford in her May 15, 2015 Rule 60(b) motion. . .”.

192. GHW Sabotage of the Civil Action No_ 13-240'}' at the USDC{EDLA, as conveyed in this
April 20, 2016 Complain, deprived Bradford of the right to a fair trial by jury.

193. On September 4, 2014, in the Civil Action No. 13-2407, the USDC!E.DLA confirms:
`The Court discusses With the parties the Defendants1 Motion for Summary Judgment.--and the
issues at hand for trial. The trial set for September 22, 2014 will remain as scheduled pending the
Court's decision of the Motion for Summary Judgment."

194. On September 8, 2014, in the Civil Action No, 13-240?, the USDC)‘EDLA granted GHW

Motion for Surnmary Judgment and dismissed Bradford's Claims with Prej udice.

44

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 45 of 47

195. By reason of the USDC!EDLA granting GHW MSJ on September 8, 2014, Bradford had
to prolong her activity, full-time, as a Pro Se Litigant to demonstrate GHW sabatoge of the
Bradford vs. GHW Civil Action No_ 13-2407.
196. Bradford has proven in this April 20, 2016 Complaint that she would have won the case
within the case in Italy and that GHW, with their numerous and serious violations, have caused
Bradford to lose her case in the Civil Action No. 13-2407 at the USDC/EDLA valued at
$30,000,000.00 U.S. dollars (Thirty million United States Doliars) plus the cost of Bradford's
activity, as a Pro Se Litigant, from September 8, 2014 to Juiy 16, 2015
19'?. The cost of` Bradford's activity, as a Pro Se Litigant, from September S, 2014 to July 16,
2015 is $35,000.00 (Thirty-flve thousand United States Dollars).

PRAYER FOR RELIEF
WHEREFORE_. Plaintitf Narissa Dawn Bradford, Pro Se Litigant, requests that after due
proceedings are had there be judgment in favor of her granting damages in the amount of
$30,035,000.00 U.S. dollars- (Thirty million and Thirty-f'lve thousand United States Dollars).
- Plaintiff Narissa Dawn Bradford, Pro Se Litigant, intends to quantify other serious damages
(Compensatory, Punjtivefexcmplary, etc.) and losses occured due to GHW Fraud, Per]`ury,
Defamation, Concealing Evidence and Violation and Sabatoge of the December 4, 2013 Pre-
Trial Order, the January 22, 2014 Order and the Discovery Phase in the Civil Action no. 13-
240';' at the USDC!EDLA.
- Plaintiff` Narissa Dawn Bradford, a Pro Se Litigant, requests a Trial by Jury.
- Finally, Plaintiff` Narissa Dawn Bradford, a Pro Se Litigant, seeks any further Relief which the

Court may deem appropriate

45

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 46 of 47

Respectfully submitted this 20th day of April, 2016.

%¢;i._r Da»_» /KW czma/2619

Narissa Dawn Bradford, Plaintiff` and Pro Se Litigant

 

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Starkville, MS 39760
Tel: 662-684-9254

Email: narissadawn@yahoo.com

46

Case 2:16-cv-03692-.]TI\/|-KWR Document 1 Filed 04/22/16 Page 47 of 47

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